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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JUSTIN CHATOV
   an individual,                                       Case No.: 8:14-cv-00734-JSM-AEP

          Plaintiff,
   v.

   PHH MORTGAGE CORPORATION,
   a foreign profit company,

         Defendant.
   ___________________________________/

                          NOTICE OF PENDING SETTLEMENT

          Plaintiff, JUSTIN CHATOV (hereinafter “Plaintiff”), by and through the

   undersigned counsel and pursuant to Middle District of Florida, Local Rule 3.08, hereby

   submits this Notice of Pending Settlement and states:

          1.      Plaintiff and Defendant, PHH MORTGAGE COPORATION (hereinafter

   “Defendant”), have reached a conditional settlement with regard to all claims in this case,

   and the parties are presently drafting, finalizing, and executing a written settlement

   agreement and release of liability.

          2.      Upon execution of a mutually agreeable settlement agreement and release,

   undersigned counsel will execute and file a Notice of Settlement and Stipulation for

   Dismissal with Prejudice.

          3.      To the extent this Court treats the foregoing as a Motion, pursuant to

   Middle District of Florida Local Rule 3.01(g), the undersigned certifies that he has

   consulted with Defendant's counsel, and Defendant has no objection to the relief sought.

          Submitted this 14th day of April 2015.
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                                                 Respectfully submitted,
                                                 LEAVENLAW

                                                 /s/ Aaron M. Swift
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                                                 Attorneys for Plaintiff


                                CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a copy of the foregoing Notice of Pending Settlement

   has been furnished either electronically or by U.S. Mail this 14th day of April 2015 to:

          Jacqueline A. Simms-Petredis, Esq.
          201 North Franklin Street, Suite 3200
          Tampa, FL 33602
          jsimms-petredis@burr.com
          Attorneys for Defendant

                                                 /s/ Aaron M. Swift
                                                 Attorney
